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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 JOHN DOE,

                       Plaintiff,

        v.                                              Case No. 2:16-cv-171
                                                        Judge George C. Smith
                                                        Magistrate Judge Chelsey M. Vascura
 THE OHIO STATE UNIVERSITY, et al.,

                       Defendants.




                                    OPINION AND ORDER

       This matter is before the Court upon Plaintiff John Doe’s Motion to Compel Production

of Documents and Responses to Interrogatories by Defendant The Ohio State University

(“Plaintiff’s Motion to Compel”) (ECF No. 90). The motion is fully briefed and ripe for

disposition. For the following reasons, Plaintiff’s Motion to Compel is GRANTED IN PART

and DENIED IN PART.

                                    I.    BACKGROUND

       The factual background of this case has been detailed in the Court’s previous orders of

March 10, 2017 (ECF No. 50) and August 20, 2018 (ECF No. 94). In brief, Plaintiff John Doe

was a student at The Ohio State University (“OSU”) and also worked as an RN at OSU’s

Wexner Medical Center (“OSUWMC”). John Doe initially met Jane Doe in 2012 when she was

brought in to OSUWMC. The couple dated and were involved in a sexual relationship through

2014. Seven months after the couple’s last encounter, Jane Doe filed a complaint with
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OSUWMC alleging that John Doe had sexually assaulted her on or about November 20, 2014.

(Am. Compl. ¶ 69, ECF No. 36.)

       OSU investigated Jane Doe’s complaint and held a hearing. John Doe was found to have

violated OSU’s Code of Student Conduct and was permanently dismissed from OSU and barred

from ever being present on any OSU campus or property in the future. (Id. at ¶ 114.) John Doe

was also forced to resign from his position at OSUWMC. John Doe’s subsequent appeal to

OSU’s Vice President for Student Life was unsuccessful. (Id. at ¶ 116.)

       Plaintiff then initiated this case. After ruling on Defendants’ Motion to Dismiss and on

reconsideration of that order, the only claims remaining are Plaintiff’s “erroneous outcome”

claim against OSU under Title IX of the Educational Amendments of 1972, 20 U.S.C. § 1681, et

seq., and Plaintiff’s equal protection claim under the Fourteenth Amendment against OSU and

individual defendants Kelly Smith and Matthew Page. (ECF Nos. 50, 94.)

       Plaintiff now brings this Motion seeking further written discovery responses and

production of documents from OSU. In opposition, OSU primarily asserts that Plaintiff’s

discovery requests seek irrelevant documents and are not proportional the needs of the case.

                              II.     STANDARD OF REVIEW

       Federal Rule of Civil Procedure 26(b)(1), which sets forth the permissible scope of

discovery, provides:

       Scope in General. Unless otherwise limited by court order, the scope of discovery
       is as follows: Parties may obtain discovery regarding any nonprivileged matter that
       is relevant to any party’s claim or defense and proportional to the needs of the case,
       considering the importance of the issues at stake in the action, the amount in
       controversy, the parties’ relative access to relevant information, the parties’
       resources, the importance of the discovery in resolving the issues, and whether the
       burden or expense of the proposed discovery outweighs its likely benefit.
       Information within this scope of discovery need not be admissible in evidence to
       be discoverable.

Fed. R. Civ. P. 26(b)(1).

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       Determining the scope of discovery is within the Court’s discretion. Bush v. Dictaphone

Corp., 161 F.3d 363, 367 (6th Cir. 1998). As the United States Court of Appeals for the Sixth

Circuit has recognized, “[t]he scope of discovery under the Federal Rules of Civil Procedure is

traditionally quite broad.” Lewis v. ACB Bus. Serv., Inc., 135 F.3d 389, 402 (6th Cir.

1998). However, revisions to the Federal Rules of Civil Procedure in 2015 “encourage judges to

be more aggressive in identifying and discouraging discovery overuse.” Fed. R. Civ. P. 26,

Advisory Committee Notes to the 2015 Amendment. “The proportionality standard is the

instrument by which judges and practitioners are to bring about a change in the culture of

discovery, requiring lawyers, with the guidance of involved judges, to ‘size and shape their

discovery requests to the requisites of a case.’” Waters v. Drake, 222 F. Supp. 3d 582, 605 (S.D.

Ohio 2016) (quoting Chief Justice Roberts, 2015 Year-End Report on the Federal Judiciary at 7).

       “[T]he proponent of a motion to compel discovery bears the initial burden of proving that

the information sought is relevant.” Guinn v. Mount Carmel Health Sys., No. 2:09-cv-226, 2010

WL 2927254, at *5 (S.D. Ohio July 23, 2010) (quoting Clumm v. Manes, No. 2:08–cv–567, 2010

WL 2161890 (S.D. Ohio May 27, 2010)); see also Berryman v. Supervalu Holdings, Inc., No.

3:05-cv-169, 2008 WL 4934007, at *9 (S.D. Ohio Nov. 18, 2008) (“At least when the relevance

of a discovery request has been challenged the burden is on the requester to show the relevance

of the requested information.” (internal citation omitted)). However, the burden to demonstrate

that the requested discovery would be disproportional to the needs of the case rests with the

objecting party. Bros. Trading Co. v. Goodman Factors, No. 1:14-CV-975, 2016 WL 9781140,

at *2 (S.D. Ohio Mar. 2, 2016) (Rule 26(b)(1) does not place the burden of addressing

proportionality considerations on the requesting party; nor does it permit the opposing party to




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avoid responding simply by making a boilerplate objection on grounds of proportionality)

(quoting Fed. R. Civ. P 26, Advisory Committee Notes (2015)).

                                      III.    DISCUSSION

       Plaintiff asks the Court to compel further written discovery responses and production of

documents by OSU as follows:

       (i) complete written responses to Plaintiff’s First Request for Production of
       Documents and a privilege log; (ii) documents exchanged with the U.S.
       Department of Education and its Office of Civil Rights relating to Title IX
       compliance at OSU; (iii) information and documents relating to investigations at
       OSU into other Title IX matters of similarly situated students; (iv) documents
       relating to OSU’s investigation and closing of its Office of Sexual Civility and
       Empowerment; (v) documents relating to OSU’s Title IX policies and training
       materials; (vi) information and documents relating to pages on OSU’s website
       relating to Title IX; and (vii) documents relating to other Title IX lawsuits brought
       against OSU by male students.

(Pl.’s Brief in Supp. 1, ECF No. 91.) Plaintiff also seeks an award of expenses, including

attorney’s fees, incurred in filing the instant motion under Fed. R. Civ. P. 37(a)(5). (Id.)

       On October 9, 2018, OSU notified the Court that it had served Plaintiff with the

requested privilege log on October 8, 2018. (ECF No. 98.) It also appears from the parties’

opposition and reply briefs (ECF Nos. 96–97) that OSU’s complete written responses to

Plaintiff’s First Request for Production of Documents have also been served, fully resolving the

first category of discovery sought by Plaintiff in his Motion. The Court will consider the

remaining categories in turn.

A.     Communications regarding the U.S. Department of Education and its Office of Civil
       Rights and to Title IX compliance at OSU

       Plaintiff requests communications, both internal to OSU and between OSU and the

Department of Education (“DOE”) and its Office of Civil Rights (“OCR”), relating to Title IX

compliance at OSU. (See Pl.’s First Set of Requests for Production, ECF No. 91-2, Req. Nos. 8–

12, 27.) Plaintiff seeks these documents in support of his allegations that OSU discriminated

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against male students in its procedures for responding to sexual misconduct complaints because

of pressure exerted by the DOE and OCR—in particular, because of OCR’s investigation into

OSU’s Title IX compliance. Although OSU has provided some documents in response to these

requests, as well as pointed Plaintiff to many publicly-available responsive documents, Plaintiff

contends OSU’s production is incomplete. Namely, Plaintiff submits that beyond a small

number of communications, OSU did not provide documents that relate to certain OCR

investigations identified in Plaintiff’s document requests; the publicly available status reports by

OSU to the DOE reference many attachments or enclosures that were not provided by OSU in

discovery; and OSU’s production included neither documents that Plaintiff obtained via a

Freedom of Information Act request to the DOE, nor documentation that Plaintiff contends is

commonly exchanged between universities and the DOE during inquiries into Title IX

compliance. (See Letter dated March 20, 2018 from Pl.’s Counsel, ECF No. 91-8.)

       OSU admits that it has not produced responsive “internal communications about the

issues and additional communications with DOE/OCR.” (OSU’s Resp. at 10, ECF No. 96.)

OSU argues that these documents are irrelevant because they “will not reveal how the University

actually handled reports of sexual misconduct (which is relevant), but rather how University

representatives discussed doing so with various other entities (which is not relevant).” (Id.) In

support, OSU cites Waters v. Drake, 222 F. Supp. 3d 582, 602 (S.D. Ohio 2016), which held that

“[e]ven if the real reason that Ohio State terminated Waters was to appease OCR, there is no

evidence to support an inference that a discriminatory animus against men motivated the alleged

effort to scapegoat Waters.” 222 F. Supp. 3d at 602.

       However, in an earlier opinion in this case on OSU’s Motion to Dismiss, this Court held

that the temporal proximity of the OCR’s investigation of OSU’s Title IX compliance and



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statements in documents related to a subsequent settlement with the OCR could provide

circumstantial evidence of gender bias. Doe v. Ohio State Univ., 239 F. Supp. 3d 1048, 1070

(S.D. Ohio 2017). Moreover, the Sixth Circuit has twice recently affirmed, in similar Title IX

erroneous outcome cases, the relevance of pressure from the DOE and OCR on universities to

more effectively respond to complaints of sexual misconduct. See Doe v. Baum, 903 F. 3d 575,

586 (6th Cir. 2018) (“external pressure” from a federal government investigation to determine

whether the defendant university’s process for responding to allegations of sexual misconduct

discriminated against women “provides a backdrop that, when combined with other

circumstantial evidence of bias in [the plaintiff’s] specific proceeding, gives rise to a plausible

claim” for erroneous outcome under Title IX); Doe v. Miami Univ., 882 F.3d 579, 594 (6th Cir.

2018) (allegations that “pressure from the government to combat vigorously sexual assault on

college campuses” “led [the defendant university] to discriminate against men in its sexual-

assault adjudication process” sufficiently stated a claim for erroneous outcome under Title IX).

OSU’s communications regarding the OCR investigation and other interactions with DOE and

OCR are therefore relevant.

       OSU further objects that Plaintiff’s requests are overbroad and voluminous, as

responding would entail an estimated $50,000 in legal fees and production costs, and that the

requests potentially encompass areas of Title IX completely unrelated to Plaintiff’s claims (e.g.,

Title IX’s athletic requirements). (OSU’s Resp. 10–11, ECF No. 96.) In reply, Plaintiff offered

to limit his requests to OSU’s efforts to comply with Title IX’s requirements relating to sexual

misconduct, sexual assault, consent, and sexual harassment. (Pl.’s Reply 10, ECF No. 97.) And

in response to OSU’s assertion that it “would not even know where to start” searching for

remaining responsive documents (ECF No. 96 at 10), Plaintiff suggests that the parties attempt to



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agree to a protocol for identifying potentially responsive electronically-stored information

(“ESI”), including the identification of document custodians and search terms. (ECF No. 97 at

10.)

       The Court agrees that, when limited to OSU’s efforts to comply with Title IX’s

requirements relating to sexual misconduct, sexual assault, consent, and sexual harassment,

Plaintiff’s requests seek relevant documents. The Court further finds that OSU has not

demonstrated at this stage that Plaintiff’s requests are not proportional to the needs of the case.1

The parties are therefore ORDERED to meet and confer in an effort to reach an agreed ESI

protocol for the purpose of completing OSU’s document production in response to Plaintiff’s

Request Nos. 8–12 and 27. If necessary, OSU may renew its proportionality objections at a later

stage once the parties have more clarity about the number of documents involved.

B.     Information and documents relating to investigations at OSU into other Title IX
       matters of similarly situated students

       The undersigned previously entered an order following a discovery conference, noting

that, in response to Plaintiff’s Request for Production No. 29 for “all documents concerning any

investigation, evaluation, prosecution, adjudication, or appeal of a charge of sexual assault,

sexual misconduct, sexual harassment or a similar offense made to OSU,” the parties agreed that

OSU would compile and produce statistics for the period of 2010 to the present. (ECF No. 60.)

The parties “agreed that the statistics to be compiled would reflect the gender of the accused, the

gender of the accuser, the charges, the relevant dates, the outcome of each case, and the identity

of the investigators.” (Id.) OSU produced a spreadsheet containing the agreed-upon

information, resulting in a list of nearly 1,200 sexual misconduct cases.


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 Although OSU’s $50,000 cost estimate is not insubstantial, the Court questions whether OSU
could provide an accurate estimate while at the same time being unsure of how to go about
identifying responsive documents.
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       1.      Full case files

       Of those nearly 1,200 cases, Plaintiff is now requesting the full case files for 35: all 20

cases in which a female student was the accused, 7 cases in which male students received

discipline similar to Plaintiff’s, and 8 cases in which the “findings” were listed as “N/A” or “not

in violation.” Plaintiff seeks these case files to support allegations that OSU treated similarly-

situated students differently than Plaintiff based on their gender.

       OSU does not object to the relevance of the requests, but it raises concerns regarding the

burden associated with complying with the Family Educational Rights and Privacy Act

(“FERPA”), 20 U.S.C. § 1232g. OSU is correct that the case files are protected by FERPA and

cannot be produced without either the written consent of the students in question (or, depending

on the age of the student, their parents) or a court order. United States v. Miami Univ., 294 F.3d

797, 813 (6th Cir. 2002); 20 U.S.C. § 1232g(b)(2). And even if the Court orders production, any

student whose identifying information is contained in the case files must be notified prior to

OSU’s release of the records. 20 U.S.C. § 1232g(b)(2)(B). But “[e]ven though [OSU] is

required to make a reasonable effort to provide notice, with the opportunity to object, consent of

the affected persons is not required where disclosure is court-ordered and subject to a protective

order.” Jackson v. Willoughby Eastlake Sch. Dist., No. 1:16-cv-3100, 2018 WL 1468666, at *4

(N.D. Ohio Mar. 23, 2018).

       OSU estimates that each full case file contains approximately 100 pages and, apparently

mistakenly believing that Plaintiff requested only 15 full case files, estimates that it will take, at

minimum, 90 days to identify all students named in the “1,500 pages” and provide the required

FERPA notices, which will cost $10,000. (Resp., ECF No. 96 at 15.) OSU also estimates that,

after FERPA notices have been issued, it will take another 90 days at a cost of an additional

$10,000 to complete appropriate redaction of the documents. (Id.)
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       However, while underestimating the number of pages at issue, OSU overestimates the

time and effort required by FERPA compliance. So long as the required notice is provided to

students or their parents, OSU need not redact the students’ identifying information prior to

producing the case files. Doe v. Ohio, No. 2:91-CV-0464, 2013 WL 2145594, at *6 (S.D. Ohio

May 15, 2013) (“Defendants could either comply with FERPA’s requirement ‘that parents and

the students are notified of all such orders or subpoenas in advance of the compliance therewith

by the educational institution or agency,’ 20 U.S.C.A. § 1232g(b)(2), or Defendants could redact

all personally identifiable information.”) (emphasis added). Thus, only a single round of review

will be necessary.

       The Court finds that OSU has not demonstrated that the burden of complying with

FERPA is disproportionate to the needs of the case. Review of 3,500 pages does not strike the

Court as unduly burdensome, especially when OSU has not contested the relevance of these

documents and Plaintiff has narrowed down the list of nearly 1,200 potentially relevant cases to

only 35. The Court therefore ORDERS OSU to produce, after providing the required notice to

students under FERPA, the 35 full case files requested by Plaintiff. The Court further ORDERS

that all documents produced in discovery and containing students’ identifying information be

designated “CONFIDENTIAL—SUBJECT TO PROTECTIVE ORDER” pursuant to the parties’

stipulated protective order. (ECF No. 54.)

       2.      Information related to outcomes of appeals

       Plaintiff further asks OSU to provide an additional column to the spreadsheet indicating

for all 1,200 cases whether the matter was appealed and, if so, the outcome. Plaintiff asserts he

is owed this information as part of the agreed-upon data to be provided in the original

spreadsheet, which included “the outcome of each case.” (Order Memorializing Oct. 2, 2017



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 Disc. Conf., ECF No. 60.) Plaintiff maintains he is entitled to discovery regarding whether the

 appellate process at OSU was discriminatory. (Pl.’s Reply 16, ECF No. 97.)

        OSU contends that “the outcome of each case” does not encompass appeal-related

 information and that, if Plaintiff wanted this additional data, he should have requested it at the

 time the parties agreed to the compilation of the spreadsheet. (OSU’s Resp. 19, ECF No. 96.)

 OSU states that it took five months for OSU to compile the data for the spreadsheet and that it

 would take another five months, and cost over $20,000, to re-review its case files to comply with

 Plaintiff’s appeal-related request. (Id. at 20.)

        The Court agrees with Plaintiff that appeal information is relevant to Plaintiff’s claims.

 Plaintiff appealed his case, and his appeal was denied without explanation. (Order on Mot. to

 Dismiss 15, ECF No. 50.) The existence of gender bias in the appellate process would be just as

 relevant to Plaintiff’s claims as the existence of gender bias in the initial disciplinary proceeding.

 See Doe v. Miami Univ., 882 F.3d at 593 (evidence demonstrating a causal connection between

 an erroneous outcome and gender bias might include “patterns of decision-making that also tend

 to show the influence of gender”).

        Moreover, the appeal-related information is encompassed within the data agreed to by the

 parties in October 2017. The ordinary meaning of the “outcome” of a case is the final outcome,

 including any appellate proceedings. If OSU wished to provide information short of the final

 outcome of each case, it had the opportunity to raise the issue prior to expending five months to

 review its case files. The Court also doubts OSU’s conclusory assertion that it will take just as

 long to review each of its case files for two pieces of information—whether the initial finding

 was appealed and, if so, whether the initial finding was upheld or reversed—as it did to review

 each file for the information contained in the 11 columns of the existing spreadsheet.



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 Accordingly, the Court finds that OSU has not demonstrated that providing appeal data will be

 unduly burdensome or disproportionate to the needs of the case. Therefore, OSU is ORDERED

 to provide the additional appeal-related information requested by Plaintiff for all cases in the

 spreadsheet.

        3.      Remaining written discovery responses

        Plaintiff also asks that OSU respond or supplement its responses to its Interrogatories

 Nos. 15–18 and Request for Admission No. 1. OSU asserted in its interrogatory answers and its

 opposition brief that Interrogatories Nos. 15–18 are answered by information contained in the

 spreadsheet. The Court is inclined to agree, and, as Plaintiff did not address these interrogatories

 on reply, the Court deems these interrogatory answers to be resolved.

        As for Request for Admission No. 1, Plaintiff asks OSU to “[a]dmit some females in

 OSU’s Spreadsheet [ ] were alleged to have violated at least one of the four Policies in Exhibit B

 but OSU did not charge these females with violating said Polic(ies).” (OSU’s Resp. to Pl.’s First

 Set of Reqs. for Admission 1, ECF No. 91-7.) OSU objects to this Request as “vague,

 ambiguous and lack[ing] the specificity required to allow Defendant to provide a response.”

 (Id.) In its opposition brief, OSU contends that (1) OSU cannot respond unless Plaintiff

 identifies which of the 1,200 cases in the spreadsheet are encompassed by the request, and

 (2) OSU cannot respond unless Plaintiff provides a definition for the word “charge.” (OSU’s

 Resp. 16, ECF No. 96.)

        Neither of these objections have merit. OSU compiled the spreadsheet, which identifies

 the gender of both alleged victims and accused. The “females in OSU’s Spreadsheet” at issue

 involve the cases in which the victim or accused was a female student. No specific case numbers

 need be provided by Plaintiff to identify the relevant cases. Further, the spreadsheet itself (again,

 compiled by OSU) has a column labeled “Charges” and another labeled “Charges with
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 Findings.” As the Request refers to female students in the spreadsheet, it is a fair assumption

 that Plaintiff intended the meaning of “charge” as used by OSU in the spreadsheet. The Court

 therefore finds that Request for Admission No. 1 is not so ambiguous as to preclude a response,

 and OSU is ORDERED to provide a response.

 C.     Documents relating to OSU’s investigation and closing of its Office of Sexual Civility
        and Empowerment

        Plaintiff alleges that Natalie Spiert, an employee of OSU’s Office of Sexual Civility and

 Empowerment (“SCE”), exhibited gender bias in the performance of her duties, which included

 acting as Jane Doe’s assigned advisor in the sexual misconduct complaint process. Based on

 these allegations of bias on the part of Ms. Spiert, Plaintiff seeks documents related to OSU’s

 investigation, and eventual closure, of the SCE office, which also resulted in Ms. Spiert’s

 termination. (OSU’s Resp. to Pl.’s 3d Set of Reqs. for Production, Req. Nos. 36–38, ECF No.

 91-7.) In support of these documents’ relevance, Plaintiff points to an article in OSU’s student

 newspaper reporting on documents released by OSU related to an external review of SCE. (ECF

 No. 9-18.) Reports made in connection with the external review included that “during a

 presentation to all the coaches in the athletics Department, [Spiert told] the coaches she knew

 they would ‘go home and beat their wives,’” and that “SCE told survivors that they should

 embellish their stories to receive justice or legal protection.” (Id.)

        OSU argues that the investigation and closure of SCE are not relevant to Plaintiff’s

 claims. Ms. Spiert was not a decision-maker in Plaintiff’s case, and all SCE records related to

 Plaintiff or Jane Doe, as well as all communications between Ms. Spiert and Jane Doe, have

 already been produced. (OSU’s Resp. 20–22, ECF No. 96.) Moreover, Plaintiff asserted claims

 against Ms. Spiert in her individual capacity, but the Court granted Defendants’ motion to




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 dismiss those claims, and that determination was re-affirmed on Plaintiff’s motion for

 reconsideration. (ECF Nos. 50, 94.)

        The Court concludes that Plaintiff has not demonstrated the relevance of the requested

 SCE documents. OSU therefore need not respond any further to Plaintiff’s Request for

 Production Nos. 36–38.2

 D.     Documents relating to OSU’s Title IX policies and training materials

        Plaintiff seeks policies and training materials related to Title IX or sexual misconduct, as

 well as documents relating thereto, such as e-mails, correspondence, committee meeting minutes,

 meeting agendas, or information provided to individuals involved in the preparation of the

 documents. (Pl.’s Brief 16, ECF No. 91; Pl.’s 1st Set of Reqs. for Production, Req. Nos. 19–20,

 24, 26–28, ECF No. 91-2.) OSU has already produced the final versions of the policies and

 training materials themselves, but objects to producing any related communications, meeting

 minutes, etc., on grounds of irrelevance. (Resp. 25–26, ECF No. 96.) Plaintiff relies primarily

 on Ms. Spiert’s training presentation to the athletics department and the possibility that she

 provided training to the decision-makers in Plaintiff’s case to establish relevance. OSU admits

 that Ms. Spiert provided “a brief training” “to the hearing panel which decided Plaintiff’s case,”

 but points out that a copy of that training has already been produced. (Id. at 26–27.) The

 remaining documents requested by Plaintiff would, OSU contends, “not reveal how [OSU]

 directly handled reports of sexual assault, but how [OSU’s] representatives talked about doing so

 . . . .” (Id. at 27 (quoting Doe I v. Baylor Univ., Case No. 6:16-cv-00173 (ECF #146, pg. 9)

 (W.D. Tx. July 26, 2017)).)


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   OSU also objects to producing documents related to the SCE investigation on grounds of
 attorney-client privilege. (OSU’s Resp. at 22–25, ECF No. 96.) Because the Court finds the
 requested documents not relevant, the undersigned need not determine whether the documents
 are privileged.
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          The Court acknowledges the breadth of the documents sought by Plaintiff, but it also

 recognizes that relevant evidence of bias may exist outside formal policies and training materials.

 The Court therefore narrows Plaintiff’s requests and ORDERS OSU to produce all

 communications concerning the training or guidance given to any OSU employee who was

 involved in any way in the investigation, evaluation, prosecution, adjudication, or appeal of the

 charge against John Doe, provided that the training or guidance must be related to Title IX’s

 requirements relating to sexual misconduct, sexual assault, consent, and sexual harassment, or

 other OSU policies related to sexual misconduct. The parties may wish to meet and confer

 regarding appropriate document custodians and search terms to identify potentially responsive

 documents. OSU need not respond any further to Plaintiff’s Request for Production Nos. 19–20,

 26–28.

 E.       Information and documents relating to pages on OSU’s website relating to Title IX

          Plaintiff’s Request for Production Nos. 21 and 22 seek information about the information

 reflected on OSU’s Office of Sexual Civility and Empowerment website, as follows:

          21. A copy of OSU’s Office of Student Life’s Sexual Civility and Employment
          website representing that “1/4 college women report surviving rape or attempted
          rape at some point in their lifetime” and all documents to support this assertion.

          22. A copy of OSU’s Office of Student Life’s Sexual Civility and Employment
          website representing that “1 out of 6 American women has been the victim of
          attempted or complete rape . . . .” and all documents to support this assertion.

 (Pl.’s 1st Set of Reqs. for Production, Req. Nos. 21–22, ECF No. 91-2.) OSU objects on grounds

 of relevance. (Resp. at 27–28, ECF No. 96.) As discussed above, Plaintiff has not established

 the relevance of documents created by SCE, and he makes only conclusory statements regarding




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 the relevance of these requests. (Pl.’s Brief 17, ECF No. 91; Pl.’s Reply 20, ECF No. 97.)

 Accordingly, OSU need not respond further to Request for Production Nos. 21–22.3

 F.     Documents relating to other Title IX lawsuits brought against OSU by male
        students

        Plaintiff’s Request for Production Nos. 39–40 seek all documents produced from OSU to

 the plaintiff in two other cases with similar allegations of Title IX violations in the Southern

 District of Ohio: (1) John Doe v. The Ohio State Univ., No. 2:15-cv-02830; and (2) Waters v.

 Drake, No. 2:14-cv-01704. (Defs.’ Resp. to Pl.’s 3d Set of Reqs. for Production, Req. Nos. 39–

 40, ECF No. 91-7.) Plaintiff contends that, “[a]s both cases have similar allegations . . . the

 productions likely contain relevant information that can be produced pursuant to the protective

 order.” (Pl.’s Brief 18, ECF No. 91.) OSU objects, asserting that Plaintiff has not demonstrated

 any similarity between his claims and these two cases and also points out that none of the

 decision-makers overlapped. Further, the Waters case involved employment termination, not

 student dismissal, and the earlier Doe case is included on the spreadsheet of statistical data

 discussed supra. (OSU’s Resp. at 28–29, ECF No. 96.) As Plaintiff has made only conclusory

 assertions of relevance, OSU need not further respond to Request for Production Nos. 39–40.4

 G.     Award of expenses under Fed. R. Civ. P. 37(a)(5)

        Neither Plaintiff’s brief in support of his motion nor his reply brief contain any argument

 in support of an award of expenses for filing the present motion beyond a one-sentence request


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   OSU also objects that these requests are vague because “OSU doesn’t understand what Plaintiff
 is seeking by asking for a ‘copy’ of a website.” (OSU’s Resp. at 28, ECF No. 96.) Because the
 Court finds the requested documents not relevant, the undersigned need not determine whether
 the request is vague or ambiguous.
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   Plaintiff also counters OSU’s assertion of undue burden by suggesting that “the document
 exchange in those cases more likely than not happened electronically. Defendant can simply
 forward the production.” (Pl.’s Reply at 20, ECF No. 97.) Though likely true, the ease of
 production cannot overcome a lack of relevance.
                                                  15
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 for such an award. (Pl.’s Brief 18, ECF No. 91; Pl.’s Reply 21, ECF No. 97.) Although Fed. R.

 Civ. P. 37(a)(5) provides for a mandatory award of reasonable expenses, including attorney’s

 fees, incurred in filing a successful motion to compel, the award is not mandatory if a motion to

 compel is granted in part and denied in part as it is here. Fed. R. Civ. P. 37(a)(5)(C). As

 Plaintiff has not offered any reason why an award of expenses should issue in this case,

 Plaintiff’s request is DENIED.

                                      IV.     CONCLUSION

        For the foregoing reasons, Plaintiff’s Motion to Compel is GRANTED IN PART and

 DENIED IN PART. OSU is ORDERED to provide further written discovery responses and

 document production as outlined above.

                IT IS SO ORDERED.

                                                      /s/ Chelsey M. Vascura
                                                      CHELSEY M. VASCURA
                                                      UNITED STATES MAGISTRATE JUDGE




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